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 1   List of parties and counsel on signature pages.

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 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN JOSE DIVISION
10   VOIP-PAL.COM, INC., a Nevada
     corporation,                                      Case No. 18-cv-04523-LHK [Lead Case]
11
                           Plaintiff,                  DEFENDANTS’ CONSOLIDATED
12                                                     NOTICE OF MOTION AND MOTION TO
                                                       DISMISS PLAINTIFF’S COMPLAINT;
13          v.                                         MEMORANDUM OF POINTS AND
                                                       AUTHORITIES IN SUPPORT
14   TWITTER, INC., a Delaware corporation,
                                                       ORAL ARGUMENT REQUESTED
15
                           Defendant.
                                                       JURY TRIAL DEMANDED
16
     VOIP-PAL.COM, INC., a Nevada                      Date: March 21, 2019
17                                                     Time: 1:30 p.m.
     corporation,
                                                       Courtroom: 8 - 4th Floor
18                                                     Judge Lucy H. Koh
                           Plaintiff,
19                                                     [Proposed Order filed concurrently herewith]
            v.
20                                                     Case No. 18-cv-06054-LHK
     CELLCO PARTNERSHIP d/b/a/ Verizon
21   Wireless, a Delaware corporation
22
                           Defendant.
23

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                                                                           DEFENDANTS’ MOTION TO DISMISS
                                                          CASE NOS. 18-CV-04523, -06054, -06177, -06217-LHK
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 1   VOIP-PAL.COM, INC., a Nevada
     corporation,
 2
                          Plaintiff,
 3

 4          v.                                    Case No. 3:18-cv-06177-LHK
 5   AT&T CORP, a Delaware corporation,

 6                        Defendant.
 7
     VOIP-PAL.COM, INC., a Nevada
 8   corporation,
 9                        Plaintiff,
10
            v.                                    Case No. 3:18-cv-06217-LHK
11
     APPLE INC., a California corporation,
12
                          Defendant.
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                                                                        V                         DEFENDANTS’ MOTION TO DISMISS
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 1                         NOTICE OF MOTION AND MOTION TO DISMISS

 2            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3            PLEASE TAKE NOTICE THAT, on March 21, 2019, at 1:30 p.m., before the Honorable

 4   Lucy H. Koh, at the San Jose Courthouse, 280 South 1st Street, San Jose, CA 95113, Courtroom 8,

 5   4th Floor, Defendants Twitter, Inc. (“Twitter”); Cellco Partnership (“Verizon”); AT&T Corp

 6   (“AT&T”); and Apple Inc. (“Apple”) will and do hereby move under Federal Rule of Civil

 7   Procedure 12(b)(6) to dismiss with prejudice plaintiff VoIP-Pal.com, Inc.’s (“VoIP-Pal”)

 8   Complaints for failure to state a claim upon which relief may be granted.1

 9            As explained in the attached Memorandum of Points and Authorities, VoIP-Pal’s claims of

10   patent infringement against Defendants should be dismissed because all asserted claims of U.S.

11   Patents 8,542,815 and 9,179,005 (the “’815 patent” and “’005 patent”; collectively, “the Asserted

12   Patents”) are invalid under 35 U.S.C. § 101 for claiming patent ineligible subject matter.

13            The Motion is based on this Notice of Motion and Motion, and the Memorandum of Points

14   and Authorities filed herewith, the pleadings, papers, and entire record herein, oral argument in this

15   matter, and upon such other matters as may be presented to the Court at or before the hearing on

16   this Motion.

17                        MEMORANDUM OF POINTS AND AUTHORITIES

18   I.       INTRODUCTION

19            Call-routing functionality and processes have existed for over a century. District courts and

20   the Federal Circuit have found numerous call-routing and telephony claims to be directed to patent

21   ineligible subject matter, and VoIP-Pal’s patents fare no better. The asserted claims of the ’815

22   and ’005 patents fail the test for patent eligibility under Alice. The claims are directed to abstract

23   communication-routing, and they do not set forth an inventive concept that transforms the

24   underlying abstract idea into a patent-eligible application. The claims instead recite generic

25   computer implementations of routing functionality.         Indeed, the claims are written in such

26
     1
      For defendant Twitter, the First Amended Complaint, filed November 15, 2018. For defendant
27   Verizon, the Third Amended Complaint, filed November 15, 2018. For defendant AT&T, the Third
     Amended Complaint, filed November 15, 2018. For defendant Apple, the Second Amended
28   Complaint, filed May 4, 2016, in the District of Nevada, prior to transfer to this Court.

                                                    -1-                     DEFENDANTS’ MOTION TO DISMISS
                                                           CASE NOS. 18-CV-04523, -06054, -06177, -06217-LHK
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 1   sweeping, results-oriented language that VoIP-Pal contends its patents “are utilized nearly every

 2   time a call is placed.” E.g., AT&T ECF No. 3-21 at 2 (emphasis added).

 3           The asserted claims fall into two groups with minor differences—one pertaining to routing

 4   as between two networks (“multi-network claims”), and one pertaining to routing as between two

 5   portions of a network (“single-network claims”). The multi-network claims2 involve determining

 6   where to route a call as between two networks based on information about the caller and callee.

 7   The single-network claims3 involve determining where to route a communication as between two

 8   portions of a network based on information about the participants to the communication. All of the

 9   asserted claims therefore are directed to the abstract idea of determining where to route a

10   communication as between two [networks/network portions] using information about the

11   participants. Although the claims fall into two groups directed to similar abstract concepts, the

12   minor differences between those two concepts do not substantively affect the analysis under

13   Section 101.

14           All asserted claims are directed to an abstract idea for multiple reasons. First, the character

15   of each claim as a whole is directed to gathering and processing information: gathering information

16   (“identifiers” and “attributes”) about the participants to the communication and processing it to

17   generate a “routing message” identifying where to route a communication. Second, the claims have

18   a clear pre-computerized “brick and mortar” analogy: human telephone operators throughout the

19   20th century used switchboards to route calls based on information about the participants to the call.

20   Call routing between and within networks (e.g., private corporate phone networks, local public

21   phone networks, and long-distance public phone networks) has existed since nearly the advent of

22   telephony. Third, the claims merely computerize a process that could be carried out by a person

23   mentally or with a pen and paper. Fourth, the claims are not directed to an improvement in

24   computer technology itself—rather, computers are recited as tools to carry out the underlying

25   abstract idea.

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27   2
       Asserted claims 1, 7, 12, 27, 28, 72, 73, 92, and 111 of the ’815 patent and claims 49 and 73 of
     the ’005 patent.
28   3
       Asserted claims 74, 75, 77, 78, 83, 84, 94, 96, and 99 of the ’005 patent.

                                                    -2-                     DEFENDANTS’ MOTION TO DISMISS
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 1           Moreover, when the elements of the asserted claims are considered individually or as an

 2   ordered combination, they do not include any inventive concept that transforms the abstract idea

 3   into a patent-eligible invention. The individual claim limitations specify well-understood, routine,

 4   and conventional functions: analyzing participant information (e.g., of the caller and callee) to

 5   make a routing decision, determining where to route the communication (e.g., classifying the call),

 6   and communicating the decision to whatever device will route the communication. The asserted

 7   claims are written almost entirely in functional language. To the extent they refer to tangible

 8   elements, they use generic, functional terms such as a “call controller” or a “gateway.” Limiting

 9   the abstract idea to a particular technological environment—e.g., telephony or other

10   communications networks—is not sufficient to conjure an inventive concept. As a result, there are

11   no disputed issues of fact that prevent resolution at the pleading stage.

12           As numerous Federal Circuit and district court opinions have recognized, claims such as

13   VoIP-Pal’s that are directed to the idea of gathering, classifying, and outputting communications

14   information and that use computers as mere tools to carry out that idea are invalid under

15   Section 101.

16   II.     PROCEDURAL BACKGROUND

17           These related actions began in 2016 in the District of Nevada. In 2016 and 2017, third party

18   Unified Patents and defendants Apple and AT&T filed inter partes review (“IPR”) petitions against

19   the Asserted Patents.4 Defendants Twitter and Verizon did not participate in the IPRs. Two of

20   Apple’s petitions were instituted and resulted in final written decisions, finding that Apple did not

21   show by a preponderance of the evidence that the challenged claims were anticipated or rendered

22   obvious by the prior art cited in those petitions. But the PTAB has now granted-in-part Apple’s

23   Motion for Sanctions due to VoIP-Pal’s improper ex parte communications to the PTAB during

24   the IPR proceedings and authorized Apple to file requests for rehearing regarding those petitions.

25           On August 9, 2018, Verizon and AT&T filed Motions to Dismiss the Amended Complaint

26   under 35 U.S.C. § 101, but the motions were not fully briefed, and the District of Nevada did not

27
     4
       Subject-matter eligibility challenges under Section 101 may not be raised in IPRs, so patent
28   eligibility was not at issue in the IPR proceedings. See 35 U.S.C. §§ 311(b), 315(e)(2).

                                                    -3-                     DEFENDANTS’ MOTION TO DISMISS
                                                           CASE NOS. 18-CV-04523, -06054, -06177, -06217-LHK
         Case 5:18-cv-06217-LHK Document 75 Filed 01/10/19 Page 11 of 34



 1   rule on those motions. All of the present actions were transferred to this District between August

 2   and November of 2018 and consolidated for pretrial purposes.

 3   III.      STATEMENT OF THE RELEVANT FACTS

 4             A.      Specification of the Asserted Patents
 5             Both of the Asserted Patents are titled “Producing Routing Messages For Voice Over IP

 6   Communications.” The ’005 patent is a continuation of the ’815 patent, and the two asserted patents

 7   share a common specification.5

 8             Plaintiff alleges that the Defendants infringe the Asserted Patents by offering Voice-over-

 9   IP (“VoIP”) and other communication services. E.g., AT&T ECF No. 59 ¶ 41. VoIP generally

10   involves sending telephone calls over an Internet Protocol (“IP”) network, such as the Internet and

11   other digital networks. ’005 patent at 1:20-26. In these patents, however, VoIP-Pal does not claim

12   to have invented VoIP systems or routing of calls or other communications. For example, the

13   “Background of the Invention” section of the specification discusses preexisting VoIP systems and

14   the routing of calls to public networks (e.g., public switched telephone network (“PSTN”)) and

15   private networks (e.g., of a large organization). Id. at 1:20-33. IP telephony switches installed

16   within the IP network enabled voice calls to be made within or between IP networks, and between

17   an IP network and a switched circuit network (“SCN”), such as the PSTN. Id.

18             The specification describes a process for operating a call “routing controller” to facilitate

19   communication between callers and callees. E.g., id. at Fig. 1, 1:55-2:2. The routing controller

20   checks the information in a dialing profile retrieved from a database to classify the call as directed

21   to a public or private network. E.g., id. at 3:54-5:8, 11:5-6, 17:25-20:35, 22:58-61, Fig. 8B. The

22   dialing profiles include information such as the user name, domain, national dialing digits,

23   international dialing digits, and country code. E.g., id. at 4:6-38, 18:1-19:11, Figs. 9-12. The

24   routing controller generates a “routing message” that contains information about the classification

25   and routing of the call, and sends the routing message to a “call controller.” E.g., id. at 1:61-3:53,

26   5:9-6:33, 20:36-23:3 (subscriber-to-subscriber calls between different nodes), 23:4-25:12

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28   5
         For simplicity, this Motion cites the specification of the ʼ005 patent.

                                                      -4-                     DEFENDANTS’ MOTION TO DISMISS
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 1   (subscriber to non-subscriber calls), 25:13-26:57 (subscriber-to-subscriber calls within the same

 2   node), Figs. 15, 16, 25, 32 (showing routing messages). The specification provides an example of

 3   a “generic” routing message. Id. at 21:4, Fig. 15. The call controller receives the routing message

 4   as a request to establish a call. E.g., id. at 2:3-5, 26:58-27:60.

 5           If a call is classified as a public network call, the call is routed to a “gateway” to the PSTN.

 6   The specification describes a gateway in general and functional terms as a piece of networking

 7   hardware used by well-known communications suppliers such as Sprint, Telus, and Shaw to

 8   provide a communications path to the PSTN—e.g., to carry audio to the call recipient. E.g., id. at

 9   Fig. 1 (item 20), 1:67-2:2, 3:67-4:2, 14:25-31, 16:4-27, 21:12-14, 24:66-25:4, 27:10-35.

10           The call controller and routing controller are described in generic computer terms as items

11   that “may be implemented as separate modules on a common computer system or by separate

12   computers, for example.”       Id. at 13:20-22.       The call controller includes generic computer

13   components: a microprocessor, program memory, and an I/O port. E.g., id. at 16:4-17:13, Fig. 4.

14   The specification explains that “[t]he program memory 104 includes blocks of code for directing

15   microprocessor 102 to carry out various functions of the call controller 14.” Id. at 16:36-38. It also

16   explains that the routing controller includes generic computer components: a processor, program

17   memory, a table memory, buffer memory, and an I/O port. E.g., id. at 17:25-53, Fig. 7. As with

18   the call controller, the specification explains that “[t]he program memory 204 includes blocks of

19   codes for directing the processor 202 to carry out various functions of the [routing controller] (16).”

20   E.g., id. at 17:47-49.

21           The specification purports to describe a shortcoming in the prior art: “Existing VoIP

22   systems do not allow for high availability and resiliency in delivering Voice Over IP based Session

23   Initiation Protocol (SIP) Protocol service over a geographically dispersed area such as a city, region

24   or continent.” Id. at 1:45-48. However, the language of the Asserted Claims do not reflect any

25   function, structure, or other element purporting to solve that problem.

26           B.      Asserted Claims of the ’815 and ’005 Patents
27           VoIP-Pal asserts the following claims (e.g., AT&T ECF No. 61):

28               ’815 patent claims 1, 7, 12, 27, 28, 72, 73, 92, and 111 against Verizon, AT&T, and

                                                     -5-                      DEFENDANTS’ MOTION TO DISMISS
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 1               Apple (the ’815 patent is not asserted against Twitter); and

 2              ’005 patent claims 49, 73, 74, 75, 77, 78, 83, 84, 94, 96, and 99 against all Defendants.

 3           The claims fall into two groups: (1) multi-network claims,6 and (2) single-network claims.7

 4   The difference between these two groups of claims is immaterial to the patent-eligibility analysis,

 5   as there is no inventive distinction based on the difference between routing to whatever one may

 6   characterize as two portions of one network versus two different networks.

 7           The multi-network claims relate to determining how to route a “call” to a public network or

 8   a private network by comparing information about the caller to information about the callee and

 9   then classifying the call based on that comparison. For example, claim 1 of the ’815 patent states:

10               1. A process for operating a call routing controller to facilitate communication
             between callers and callees in a system comprising a plurality of nodes with which
11           callers and callees are associated, the process comprising:
12               in response to initiation of a call by a calling subscriber, receiving a caller
                     identifier and a callee identifier;
13
                 locating a caller dialing profile comprising a username associated with the caller
14                   and a plurality of calling attributes associated with the caller;
15               determining a match when at least one of said calling attributes matches at least a
                     portion of said callee identifier;
16
                 classifying the call as a public network call when said match meets public
17                   network classification criteria and classifying the call as a private network call
                     when said match meets private network classification criteria;
18
                 when the call is classified as a private network call, producing a private network
19                  routing message for receipt by a call controller, said private network routing
                    message identifying an address, on the private network, associated with the
20                  callee;
21               when the call is classified as a public network call, producing a public network
                    routing message for receipt by the call controller, said public network routing
22                  message identifying a gateway to the public network.
23
             The single-network claims relate to determining how to route “communications” to a
24
     portion of a network by comparing information about one participant to information about another
25
     participant and then classifying the communication based on that comparison. For example,
26

27   6
       Claims 1, 7, 12, 27, 28, 72, 73, 92, and 111 of the ’815 patent and claims 49 and 73 of the ’005
     patent.
28   7
       Claims 74, 75, 77, 78, 83, 84, 94, 96, and 99 of the ’005 patent.

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 1   claim 74 of the ’005 patent states:

 2              74. A method of routing communications in a packet switched network in which
            a first participant identifier is associated with a first participant and a second
 3          participant identifier is associated with a second participant in a communication, the
            method comprising:
 4
                  after the first participant has accessed the packet switched network to initiate the
 5                    communication, using the first participant identifier to locate a first
                      participant profile comprising a plurality of attributes associated with the first
 6                    participant;
 7                when at least one of the first participant attributes and at least a portion of the
                     second participant identifier meet a first network classification criterion,
 8                   producing a first network routing message for receipt by a controller, the first
                     network routing message identifying an address in a first portion of the packet
 9                   switched network, the address being associated with the second participant,
                     the first portion being controlled by an entity; and
10
                  when at least one of the first participant attributes and at least a portion of the
11                   second participant identifier meet a second network classification criterion,
                     producing a second network routing message for receipt by the controller, the
12                   second network routing message identifying an address in a second portion of
                     the packet switched network, the second portion not controlled by the entity.
13

14   IV.     LEGAL STANDARDS
15           A.       Motion to Dismiss for Invalidity under 35 U.S.C. § 101
16           Pursuant to Federal Rule of Civil Procedure 12(b)(6), a defendant may move to dismiss an
17   action for failure to allege “enough facts to state a claim to relief that is plausible on its face.” Bell
18   Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). For purposes of ruling on a Rule 12(b)(6) motion,
19   the Court “accept[s] factual allegations in the complaint as true and construe[s] the pleadings in the
20   light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519
21   F.3d 1025, 1031 (9th Cir. 2008). Nonetheless, the Court is not required to “assume the truth of
22   legal conclusions merely because they are cast in the form of factual allegations.” Fayer v. Vaughn,
23   649 F.3d 1061, 1064 (9th Cir. 2011) (quotation omitted).
24           The Federal Circuit has “repeatedly recognized that in many cases it is possible and proper
25   to determine patent eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.” Genetic Techs.
26   Ltd. v. Merial L.L.C., 818 F.3d 1369, 1373-74 (Fed. Cir. 2016); see, e.g., Secured Mail Sols. LLC v.
27   Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017); Content Extraction & Transmission
28

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 1   LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1345 (Fed. Cir. 2014). The ultimate

 2   question, whether a claim recites patent-eligible subject matter under Section 101, is a question of

 3   law based on underlying facts, such as whether a claim element is well-understood, routine, and

 4   conventional. Berkheimer v. HP Inc., 881 F.3d 1360, 1368-69 (Fed. Cir. 2018). Nevertheless,

 5   dismissal on Section 101 grounds remains appropriate where there are no disputed facts material to

 6   patent eligibility. See, e.g., Interval Licensing LLC v. AOL, Inc., 896 F.3d 1355, 1342 n.4 (Fed.

 7   Cir. 2018); SAP Am., Inc. v. Investpic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018); Automated

 8   Tracking Sols., LLC v. Coca-Cola Co., 723 F. App’x 989, 995 (Fed. Cir. 2018). “In a situation

 9   where the specification admits the additional claim elements are well-understood, routine, and

10   conventional, it will be difficult, if not impossible, for a patentee to show a genuine dispute.” Aatrix

11   Software, Inc. v. Green Shades Software, Inc., 890 F.3d 1354, 1356 (Fed. Cir. 2018).

12          B.      Patent Eligibility under 35 U.S.C. § 101
13          Section 101 broadly defines patent-eligible subject matter and “contains an important

14   implicit exception: Laws of nature, natural phenomena, and abstract ideas are not patentable.”

15   Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2354 (2014) (citation omitted). The

16   “concern that undergirds our § 101 jurisprudence” is preemption. Id. at 2358. Thus, a claim is not

17   patent-eligible when the claim is so abstract that it “would effectively grant a monopoly over an

18   abstract idea.” Bilski v. Kappos, 561 U.S. 593, 612 (2010).

19          As specified in Alice, the patent-eligibility analysis proceeds in two steps. In Alice step one,

20   the court “determine[s] whether the claims at issue are directed to a patent-ineligible concept,” such

21   as an abstract idea. Alice, 134 S. Ct. at 2355. Then, in Alice step two, a patent directed to an

22   abstract idea is invalid unless the claims recite an “‘inventive concept’—i.e., an element or

23   combination of elements that is ‘sufficient to ensure that the patent in practice amounts to

24   significantly’ more than a patent upon the [ineligible concept] itself.” Id.

25                  1.      Alice Step One: Whether the Claims Are Directed to an Abstract Idea
26          To evaluate whether particular claims are directed to a patent-ineligible abstract idea, courts

27   often begin by “compar[ing] claims at issue to those claims already found to be directed to an

28   abstract idea in previous cases.” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1334 (Fed. Cir.

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 1   2016). The Federal Circuit has generally found claims abstract where they are directed to some

 2   combination of acquiring information, analyzing information, and/or displaying the results of that

 3   analysis. See Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir. 2016).

 4          Courts further consider whether the claims are, in essence, directed to a mental process or

 5   a process that could be performed with pen and paper. See Synopsys, Inc. v. Mentor Graphics

 6   Corp., 839 F.3d 1138, 1147 (Fed. Cir. 2016) (claims for translating a functional description of a

 7   logic circuit into a hardware component description of the logic circuit); CyberSource Corp. v.

 8   Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011) (claim for verifying the validity of a

 9   credit card transaction over the Internet); Mortg. Grader, Inc. v. First Choice Loan Servs. Inc., 811

10   F.3d 1314, 1324 (Fed. Cir. 2016) (claims for computer-implemented system to enable borrowers

11   to shop for loan packages anonymously).          Another factor is whether the claims cover a

12   “fundamental . . . practice long prevalent in our system,” which suggests that the patent claims an

13   ineligible abstract idea. Intellectual Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363,

14   1369 (Fed. Cir. 2015) (quoting Alice, 134 S. Ct. at 2356); Intellectual Ventures I LLC v. Symantec

15   Corp., 838 F.3d 1307, 1317 (Fed. Cir. 2016) (claims for routing email compared to a “brick-and-

16   mortar” post office and a corporate mailroom). Additionally, courts consider whether the claims

17   “purport to improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, or whether

18   “computers are invoked merely as a tool” to carry out an abstract process, Enfish, 822 F.3d at 1336.

19                  2.      Alice Step Two: Whether the Claims Contain an Inventive Concept
20          The second step of the Alice framework asks whether the claim contains an element or

21   combination of elements that “ensure[s] that the patent in practice amounts to significantly more

22   than a patent upon the [abstract idea] itself.” 134 S. Ct. at 2355 (citation omitted). Transforming

23   an abstract idea to a patent-eligible application of the idea requires more than simply reciting the

24   idea followed by “apply it.” Id. at 2357 (citation omitted). “For the role of a computer in a

25   computer-implemented invention to be deemed meaningful in the context of this analysis, it must

26   involve more than performance of ‘well-understood, routine, [and] conventional activities

27   previously known to the industry.’” Content Extraction, 776 F.3d at 1347-48 (alteration in original)

28   (quoting Alice, 134 S. Ct. at 2359). Thus, attempts “to limit the use of the abstract idea to a

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 1   particular technological environment” are insufficient to render an abstract idea patent-eligible.

 2   Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 716 (Fed. Cir. 2014) (internal quotation marks and

 3   citation omitted); Capital One Bank, 792 F.3d at 1366 (“An abstract idea does not become

 4   nonabstract by limiting the invention to a particular field of use or technological environment, such

 5   as the Internet.”).

 6           Claims “necessarily rooted in computer technology in order to overcome a problem

 7   specifically arising in the realm of computer networks” can be sufficiently transformative to supply

 8   an inventive concept. DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir.

 9   2014); see id. at 1248, 1259. In addition, a “non-conventional and non-generic arrangement of

10   known, conventional pieces” can amount to an inventive concept. BASCOM Glob. Internet Servs.,

11   Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016).

12   V.      THE ASSERTED CLAIMS LACK PATENT-ELIGIBLE SUBJECT MATTER

13           All asserted claims of the ’815 and ’005 patents are invalid under Section 101. Each claim

14   is directed to abstract routing functionality based on classifying a communication to determine

15   where the communication should be routed as between two networks or as between two portions

16   of a network. Call routing is a century-old technology that has long been performed by humans

17   and switchboard equipment. That certain claims limit the technological environment to “the

18   Internet” or “voice-over-IP” fails to transform the abstract idea into a patent eligible concept. Nor

19   does the fact that some claims are written as means-plus-function claims render those claims patent

20   eligible because the specification makes clear that the means to accomplish the claimed functions

21   are merely generic computer components. Further, no individual element or combination of

22   elements breathes an inventive concept into the claims, as the claims involve generic steps or

23   components arranged in a routine way, such as analyzing participant information stored in a

24   memory or database before determining where to route a communication based on the information.

25           A.      Representative Claims
26           A representative claim is one that is “substantially similar and linked to the same abstract

27   idea.” E.g., Content Extraction, 776 F.3d at 1348 (citation omitted). As such, all asserted claims

28   that embody the same abstract idea should “rise or fall together.” Accenture Global Servs.,

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 1   GmbH v. Guidewire Software, Inc., 728 F.3d 1336, 1344 (Fed. Cir. 2013). Here, a representative

 2   claim exists for each of the two groups of claims—the multi-network claims and the single-network

 3   claims.

 4                    1.      Claim 1 of the ’815 Patent Is Representative of the Multi-Network
                              Claims.
 5
               Claim 1 of the ’815 patent is representative of at least the multi-network claims because
 6
     these claims are all substantively similar and are all directed to the same abstract idea: determining
 7
     where to route a communication as between two [networks] using information about the
 8
     participants. Independent claims 26 and 50 of the ’005 patent claim apparatuses that include
 9
     essentially the same limitations as representative claim 1 of the ’815 patent, which is a method
10
     claim. 8 Similarly, claims 27, 28, 54, 73, 74, and 93 of the ’815 patent claim non-transitory
11
     computer-readable media, apparatuses, and a process that also include essentially the same
12
     limitations as claim 1 of the ’815 patent.9 Dependent claims 7, 12, 72, 92, and 111 of the ’815
13
     patent and dependent claims 49 and 73 of the ’005 patent add further steps for manipulating or
14
     conveying intangible information that are immaterial for purposes of assessing patent eligibility—
15
     that is, communicating the routing message to a call controller (’815 claims 72, 92, 111; ’005
16
     claims 49 and 73), formatting the callee identifier (’815 claim 7), and classifying a call as a private
17
     network call when the callee is a subscriber to the private network (’815 claim 12). Such limitations
18
     are immaterial for purposes of assessing patent eligibility. See Affinity Labs. of Tex., LLC v.
19
     DirecTV, LLC, 838 F.3d 1235, 1261 (Fed. Cir. 2016) (describing claims reciting “the conveyance
20
     and manipulation of information” as ineligible due to abstractness).
21
                      2.      Claim 74 of the ’005 Patent Is Representative of the Single-Network
22                            Claims.
23             Claim 74 of the ’005 patent is representative of at least the single network claims because
24   these claims are all substantially similar in substance and are all directed to the same abstract idea:
25   determining where to route a communication as between two [network portions] using
26
     8
       Claims 26 and 50 of the ’005 patent are not asserted but are incorporated by reference into
27   asserted dependent claims 49 and 73 of the ʼ005 patent, respectively.
     9
       Claims 54, 74, and 93 of the ’815 patent are not asserted but are incorporated by reference into
28   asserted dependent claims 72, 73, 92, and 111 of the ʼ815 patent.

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 1   information about the participants. Claim 74 is a method claim. Independent claims 94 and 99

 2   recite a system and a computer readable medium, respectively. But all three comprise functional

 3   elements and include essentially the same substantive limitations. Dependent claims 75, 77, 78,

 4   83, 84, and 96 add elements limiting the claims to particular technological environments—

 5   specifying that the network comprises or is accessible via the Internet (claims 75, 84, 96), and that

 6   the communication comprises “voice-over-IP” (’005 claim 78)—as well as limitations on the

 7   information to be compared (claims 77, 83). Such variations are immaterial for purposes of

 8   assessing patent eligibility. See Capital One Bank, 792 F.3d at 1366 (“An abstract idea does not

 9   become nonabstract by limiting the invention to a particular field of use or technological

10   environment, such as the Internet [or a computer].”).

11          B.      Alice Step One: The Asserted Claims Are Directed to an Abstract Idea
12          All of the asserted claims are directed to the abstract idea of determining where to route a

13   communication as between two [networks/network portions] using information about the

14   participants. These claims are abstract because: (1) they are written in a form free of specific

15   tangible implementation and merely invoke computers as a tool; (2) they are similar to claims found

16   directed to abstract ideas in precedent from the Federal Circuit and district courts; (3) they are

17   directed to functions that could be performed in the human mind or with pen and paper; (4) they

18   are akin to long-standing human activity (switchboard operations); and (5) they are not directed to

19   improving the functioning of a computer itself.

20          VoIP-Pal’s claims amount to “a drafting effort designed to monopolize the [abstract idea]”

21   of deciding of how to route a call or other communication using information about the participants.

22   See Alice, 134 S. Ct. at 2357. In fact, VoIP-Pal contends that the Asserted Patents are fundamental

23   not only to VoIP services, but also to “almost all cellular and WiFi voice and message

24   communications” and “are utilized nearly every time a call is placed.” AT&T ECF No. 3-21 at 1-

25   2 (emphasis added). If VoIP-Pal’s allegations are credited, the Asserted Patents “have the potential

26   to disrupt, or even derail, large swaths of online communication,” which is a “‘basic tool’ of modern

27   life.” See Symantec, 838 F.3d at 1322 (Mayer, J., concurring) (internal quotation and citations

28   omitted). Alice precludes such a result.

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 1                   1.      The Asserted Claims Lack Specific Tangible Implementation and
                             Invoke Computers Merely as Tools to Implement the Abstract Idea.
 2

 3           Claim 1 of the ’815 patent (representative of multi-network claims) involves the steps of
 4   (1) receiving “a caller identifier and a callee identifier” (2) locating a “caller dialing profile”
 5   (3) determining a match between information in the “dialing profile” and the callee identifier,
 6   (4) classifying the call as a public network call or a private network call based on “classification
 7   criteria,” and (5) producing a “private network routing message” or a “public network routing
 8   message” depending on the classification.
 9           Claim 74 of the ’005 patent (representative of single-network claims) involves the steps of
10   (1) using a participant “identifier” to locate a “first participant profile” containing information
11   about the first participant, who initiates a communication to a second participant, (2) when at least
12   some information about the first participant (“first participant attributes”) and at least a portion of
13   a “second participant identifier” satisfy a criterion, producing a “first network routing message” for
14   receipt by a controller, and (3) when at least some information about the first participant and at
15   least a portion of the second participant identifier satisfy another criterion, producing a “second
16   network routing message” for receipt by a controller. The first network routing message identifies
17   an address in a first portion of the network that is controlled by an “entity,” and the second network
18   routing message identifies an address in a second portion of the network that is not controlled by
19   the “entity.”
20           In each case, the focus of the claims is obtaining and analyzing participant information to
21   determine where to route a communication, recited using high-level, generalized terms. The data-
22   gathering steps use generic participant “identifiers” (e.g., a telephone number or user name (’005
23   patent at 14:57-58, 17:22-24)) to locate participant “profile” information comprising “calling
24   attributes” associated with a participant. As broadly stated in the specification, “the dialing profile
25   is a record identifying calling attributes of the caller identified by the caller identifier.” Id. at 18:10-
26   11; see id. at 18:1-9, 25:19-20, Figs. 9-12 (describing “exemplary” profile information that “may
27   be” used in routing determinations). After obtaining the participant information, the claims recite
28

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 1   steps for assessing that information to determine which of two routing options should apply.

 2   Claim 1 of the ʼ815 patent recites “classifying” the call between networks based on participant

 3   information to determine where to route the call; claim 74 of the ʼ005 patent involves comparing

 4   participant information to a classification criterion to determine where to route the communication.

 5   In each case, the result of the routing determination is producing more information—a “routing

 6   message” that is received by a generic controller as a request to establish a call. Id. at 2:3-5, 26:58-

 7   27:60, 21:4-22, 16:5-30.

 8          In short, analyzing the claims’ “character as a whole,” see Enfish, 822 F.3d at 1335, reveals

 9   that they are directed to determining where to route a communication as between two

10   [networks/network portions] using information about the participants. That is a well-known

11   concept nearly as old as the advent of telephony itself. And the claims are expressed with “no

12   particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. To the extent they mention

13   tangible elements at all, such as a “call controller” or “gateway,” they are merely invoked as tools

14   to receive the output (“routing message”) of the information analysis, a telltale sign that the claims

15   are directed to an abstract idea. See Enfish, 822 F.3d at 1335-36.

16          In addition, the representative claims are written in functional language. Claim 1 of the

17   ’815 patent recites steps of “receiving” identifiers, “locating” dialing profiles, “determining” a

18   match, “classifying” calls, and “producing” routing messages, but does not specify a particular,

19   non-abstract, way of performing these functions. And claim 74 of the ’005 patent recites steps of

20   “using” an identifier to “locate” a participant profile, “producing” a network routing message when

21   a network classification criterion in met, and “identifying” an address associated with the recipient.

22   Such results-based, functional language suggests that the claims are drawn to the abstract idea,

23   doing no more than describing a desired function or outcome. See Two-Way Media Ltd. v. Comcast

24   Cable Commc’ns, LLC, 874 F.3d 1329, 1337-38 (Fed. Cir. 2017) (“[A claimed] method for routing

25   information using result-based functional language . . . requires the functional results of

26   ‘converting,’ ‘routing,’ ‘controlling,’ ‘monitoring,’ and ‘accumulating records’ but does not

27   sufficiently describe how to achieve these results in a non-abstract way.”).

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 1                  2.      Courts Have Held Similar Claims Directed to Acquiring, Analyzing,
                            and Presenting Information Abstract at Alice Step One.
 2

 3          VoIP-Pal’s claims are similar to claims that the Federal Circuit and district courts have
 4   found to be directed to abstract ideas. For example, Symantec involved claims directed to
 5   “receiving e-mail (and other data files) identifiers, characterizing e-mail based on the identifiers,
 6   and communicating the characterization”—in other words, classifying email based on criteria
 7   applied to identified information. 838 F.3d at 1313. The Federal Circuit held that classifying mail
 8   and routing it into categories (junk or not junk) was a long-standing process that the plaintiff was
 9   simply attempting to patent in a computer network environment. “[M]erely appl[ying] a well-
10   known idea using generic computers ‘to the particular technological environment of the Internet’”
11   did not rescue the claims from being directed to an abstract idea under Section 101. Id. at 1314.
12          Similarly, Electric Power Group involved claims for collecting information about the
13   operation of an electric power grid, detecting and analyzing events from that information,
14   displaying the results of the analysis, and deriving an indicator of reliability. 830 F.3d at 1351-52.
15   The Federal Circuit held that the claims were directed to an abstract idea because the claims turned
16   on collecting and manipulating intangible information, and the purported advance was merely
17   “gathering and analyzing information of a specified content, then displaying the results, and not
18   any particular asserted inventive technology for performing those functions.” Id. at 1353-54.
19          Likewise, in FairWarning IP, LLC v. Iatric Systems, Inc., 839 F.3d 1089 (Fed. Cir. 2016),
20   the Federal Circuit considered claims to detecting fraudulent access to health records. There, the
21   steps included collecting information regarding instances of access of a patient’s health
22   information, analyzing the information according to one of several rules to determine if the
23   information indicated improper access, and providing output information in the form of a
24   notification if determined that improper access had occurred. Id. at 1093. The court concluded that
25   the claims were directed to an abstract idea because the claims were directed to a combination of
26   “abstract-idea categories”: “collecting information, including when limited to particular content,”
27   “analyzing information,” and “presenting the results of abstract processes of collecting and
28

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 1   analyzing information.” Id. at 1093-94 (internal quotations omitted); see SAP Am., Inc., 898 F.3d

 2   at 1167-68 (“The focus of the claims . . . is on selecting certain information, analyzing it using

 3   mathematical techniques, and reporting or displaying the results of the analysis. That is all

 4   abstract.”); In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 611 (Fed. Cir. 2016) (claims

 5   found to be “directed to the abstract idea of classifying and storing digital images in an organized

 6   manner”).

 7           This Court and other district courts have similarly found claims regarding gathering,

 8   analyzing, and manipulating information, including call-related information, to be directed to

 9   abstract ideas. See, e.g., 24/7 Customer, Inc. v. LivePerson, Inc., Case No. 15-cv-02897-JST, 2017

10   WL 2311272, at *3 (N.D. Cal. May 25, 2017) (granting Rule 12(c) motion and invalidating claims

11   directed to “routing a call to a customer service agent based on information about the caller”);

12   Immersion Corp. v. Fitbit, Inc., 313 F. Supp. 3d 1005, 1027-29 (N.D. Cal. 2018) (claims directed

13   to abstract idea of receiving sensor and data signals, analyzing those signals, and outputting other

14   signals in response); Pragmatus Telecom, LLC v. Genesys Telecomms. Labs., Inc., 114 F. Supp. 3d

15   192, 200 (D. Del. 2015) (invalidating claims to “connecting customers to call centers”); Telinit

16   Techs., LLC v. Alteva, Inc., No. 2:14-CV-369, 2015 WL 5578604, at *16 (E.D. Tex. Sept. 21, 2015)

17   (invalidating claims to monitoring and connecting phone calls); Parus Holdings, Inc. v. Sallie Mae

18   Bank, 137 F. Supp. 3d 660, 672 (D. Del. 2015) (invalidating claims “focuse[d] on the automated

19   tasks of (1) receiving messages via a phone or Internet connection and then transmitting those

20   messages to a subscriber by phone or Internet; and (2) receiving a message from a subscriber by

21   phone or Internet and then forwarding that message based on rules established by the subscriber”),

22   aff’d, 677 F. App’x 682 (Fed. Cir. 2017) (nonprecedential); Broadsoft, Inc. v. Callwave Commc’ns,

23   LLC, 282 F. Supp. 3d 771, 784-85 (D. Del. 2017) (invalidating claims directed to the abstract idea

24   of “storing data in a database, looking up data from that database in response to the initiation of a

25   phone call, and inserting at least a portion of that data in the already-existing callerID field”), aff’d,

26   739 F. App’x 985 (Fed. Cir. 2018).

27           The asserted claims of the ʼ815 and ʼ005 patents are similarly directed to an abstract idea

28   because they call for acquiring and analyzing intangible information to determine where a

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 1   communication should be routed.

 2                  3.      The Asserted Claims Have a Clear Analogy to Longstanding
                            Telephone Switchboard Operations.
 3

 4          All asserted claims are directed to an abstract idea that has a clear “brick and mortar” analog.
 5   Since the early days of telephony, human operators using switchboards have determined (1) where
 6   to route a call as between two networks based on information about the caller and callee (claim 1
 7   of the ’815 patent), and (2) where to route a communication as between two portions of a network
 8   based on information about the two participants to the communication (claim 74 of the ’005 patent).
 9   Telephone companies originally used manual switchboards, and switchboard operators connected
10   calls by inserting a pair of phone plugs into the appropriate jacks. 10 Switchboard operators
11   determined where a call should be routed using relevant caller and callee attributes (e.g., phone
12   numbers, area codes, or international dialing codes), which could be memorized or recorded in a
13   manual and referenced when moving phone plugs into jacks of switchboards. Such “fundamental
14   economic practice[s] long prevalent in our system of commerce,” including “longstanding
15   commercial practice[s]” and “method[s] of organizing human activity” are not patent-eligible.
16   Alice, 134 S. Ct. at 2356.
17          For example, the Federal Circuit found in a similar case that claims directed to analyzing
18   and characterizing email had an obvious non-computerized brick and mortar analog—people
19   sorting through their postal mail. Symantec, 838 F.3d at 1311, 1314. As another example, in
20   Telinit, the representative claim had five elements that required: “(1) receiving a data network
21   request; (2) identifying a telephone number associated with that request; (3) signaling a switch to
22   make a call; (4) monitoring the call; and (5) providing a user with notifications if there is a change
23
     10
        The Court may take judicial notice of common sense and well-known historical facts, such as
24   the fact that switchboard operators routed calls, e.g., local and long-distance calls. See buySAFE,
     Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (affirming Rule 12(c) motion under
25   Section 101 and referencing 1927 text in holding that claimed concept was “beyond question of
     ancient lineage”); Affinity Labs of Tex., LLC v. DirecTV, LLC, 109 F. Supp. 3d 916, 926 (W.D.
26   Tex. 2015) (collecting cases where Federal Circuit has made historical observations on
     Rule 12(b)(6) motions and holding that “taking judicial notice of well-known, general historical
27   observations was not error”), aff’d, 838 F.3d 1253 (Fed. Cir. 2016); Fed. R. Evid. 201(b). However,
     VoIP-Pal’s claims are directed to an abstract idea regardless of whether the Court finds it
28   appropriate to take judicial notice of telephone switchboard operations.

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 1   in status of the call.” 2015 WL 5578604, at *16. The court found that the claim “describes a well-

 2   known and widely-understood concept—making a telephone call—and then applies that concept

 3   to the Internet using conventional computer components as an intermediary to place and monitor

 4   the telephone calls.” Id. The court observed that the claim involved a computer to carry out

 5   “precisely the function of a telephone operator.” Id. It also concluded that the claim was directed

 6   to an abstract idea despite the presence of computer-related elements such as a generic call

 7   “processor” and generic “networks.” Id.

 8           Similarly, VoIP-Pal’s asserted claims do not recite anything beyond the abstract routing

 9   determinations previously carried out via brick-and-mortar switchboard operations with generic

10   computer implementation, further confirming the abstract nature of the claims. Nor does the fact

11   that some claims simply recast the elements from the method claims as “means-plus-function”

12   format without adding new features make them any less directed to the same abstract idea because

13   the specification acknowledges that the structure for the means-plus-function elements corresponds

14   to generic computer components, as discussed in Section III.A. See Procter & Gamble Co. v.

15   QuantifiCare Inc., 288 F. Supp. 3d 1002, 1030 (N.D. Cal. 2017) (holding that a means-plus-

16   function claim was patent ineligible on a motion to dismiss because the specification’s description

17   of the underlying elements was directed to an abstract idea). Therefore, the claims recite nothing

18   more than long-standing brick and mortar practices.

19                   4.      The Asserted Claims Are Directed to Steps That Can Be Carried Out
                             Mentally or with Pen and Paper.
20

21           The steps of the asserted claims could be performed in the human mind or by a person with

22   a pen and paper to achieve the same result of determining where a communication should be routed

23   based on information about the participants. Claims directed to a method that can be performed

24   mentally or with pen and paper—such as these—are abstract. Synopsys, 839 F.3d at 1146;

25   CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011).

26           More specifically, the claimed collection and use of one type of data (i.e., the “caller

27   identifier” or “participant identifier”) to locate additional data (i.e., the “caller dialing profile” or

28   “participant profile”) are data-collection steps that can be performed in the human mind or by

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 1   consulting paper records. For example, a switchboard operator would receive a caller identifier

 2   (i.e., the caller’s phone number) and locate additional data (i.e., the caller’s local area for phone

 3   service) based on the area code of that identifier. Additional claimed steps analyze (“determining

 4   a match”) and classify (by comparison to classification criteria) the participant data, which are

 5   likewise steps that a person could perform mentally or with pen and paper. For example, a

 6   switchboard operator would determine whether the callee and the caller share the same local area

 7   code.   Like data-gathering, analyzing and classifying the gathered data to make a routing

 8   determination is similarly abstract. Elec. Power, 830 F.3d at 1354 (“[A]nalyzing information by

 9   steps people go through in their minds, or by mathematical algorithms, without more, [are]

10   essentially mental processes within the abstract-idea category.”) (collecting cases). The remaining

11   claimed steps involve generating additional data (the “routing message”) based on the analysis that

12   could also be carried out using a pen and paper. Switchboard operators long ago recorded the

13   routing information and communicated with the callers and callees when connecting the call (e.g.,

14   “routing messages”). And presenting the “results of abstract processes of collecting and analyzing

15   information” is “abstract as an ancillary part of such collection and analysis.” Id.

16                  5.      The Asserted Claims Are Not Directed to Improving the Functioning
                            of a Computer Itself.
17

18           The asserted claims do not improve computer functionality. The representative claims set

19   forth conventional functions that involve collecting, analyzing, and generating conventional

20   information regarding a communication and merely invoke computers or other tangible elements

21   as a tool to carry out those functions.

22           For example, the “call controller” and “gateway” do not improve computer functionality.

23   As explained above in Section III.A., the specification states that the call controller can be

24   implemented as a module on a common computer system comprised of generic computer

25   components (see pages 4-5 above). See, e.g., Alice, 134 S. Ct. at 2360 (finding a “communications

26   controller” to be “purely functional and generic”). And the specification describes a gateway in

27   general and functional terms as a piece of networking hardware to provide a communications path

28   to the PSTN—e.g., to carry audio to the call recipient (see pages 4-5 above).               As in TLI

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 1   Communications, the “specification makes clear that the recited physical components merely

 2   provide a generic environment in which to carry out the abstract idea” of determining how to route

 3   the call based on the caller and callee information. 823 F.3d at 611; see Accenture, 728 F.3d at

 4   1343 (invalidating claims “composed of generic computer components that would be present in

 5   any general purpose computer,” such as a processor (“CPU”), memory (“ROM, RAM”), inputs and

 6   outputs (“I/O Adapter”)).

 7          To the extent the implementation of the abstract idea with modern computer tools is an

 8   improvement, it is merely an improvement of the “existing technological process by allowing

 9   automation of further tasks” and not an improvement of the way computers operate.                   See

10   FairWarning, 839 F.3d at 1095 (distinguishing cases, such as McRO, Inc. v. Bandai Namco Games

11   Am., Inc., 837 F.3d 1299 (Fed. Cir. 2016) and Enfish, where courts found patent eligibility because

12   of specific asserted improvements in computer technology).

13          The claims in this case are unlike those found to be patent eligible in previous cases, such

14   as Enfish and McRO. Here, the claims are directed to a routing determination without claiming a

15   new data structure or new computer architecture. Cf. Enfish, 822 F.3d at 1335-36. Unlike McRO,

16   the claims do not set out specific rules distinct from how humans have performed routing

17   determinations. Cf. McRO, 837 F.3d at 1313. Indeed, VoIP-Pal asserts that its patents “are utilized

18   nearly every time a call is placed.” E.g., AT&T ECF No. 3-21 at 2 (emphasis added). Accordingly,

19   the asserted claims are directed to an abstract idea under Alice step one.

20          C.      Alice Step Two: The Asserted Claims Lack an Inventive Concept

21          Because the asserted claims of the ʼ815 and ʼ005 patents are directed to an abstract idea,

22   those claims are not patent eligible unless the Court finds an “inventive concept” under the second

23   step in the Alice framework. But whether considered individually or as an ordered combination,

24   the asserted claims contain only well-known, routine, and conventional functionality that does not

25   amount to significantly more than the abstract idea itself. See Alice, 134 S. Ct. at 2355. Although

26   the Federal Circuit has held that Alice step two may be based on underlying facts, such as whether

27   a claim element is well-understood, routine, and conventional, there is no question of fact here that

28   prevents resolution at the pleading stage. The specification here admits that the claim elements are

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 1   well-understood, routine, and conventional, and the asserted claims do not incorporate what the

 2   specification purports as benefits over the prior art. See Section III above.

 3                  1.      No Individual Limitation in the Claims Supplies an Inventive
                            Concept.
 4

 5          Assessed ind.ividually, the limitations of the asserted claims merely reflect at most generic

 6   computer implementation of the abstract idea. Representative multi-network claim 1 of the ’815

 7   patent recites steps of “locating” information, “classifying” a call according to criteria, and

 8   producing a “routing message” based on the classification. Those all represent well-understood,

 9   routine, and conventional functions. Likewise, representative single-network claim 74 of the ’005

10   patent recites steps that include “locating” information, “producing a first network routing

11   message” when a criterion is satisfied, and “producing a second network routing message” when a

12   second criterion is satisfied, which are all routine and generic computer functions.

13          Locating information is not an inventive concept. See, e.g., CyberSource, 654 F.3d at 1372

14   (holding that step requiring “obtaining information” can be performed by a human reading that

15   information). Receiving and using one type of data to locate another type of data amounts to an

16   “insignificant data-gathering step[] and thus add[s] nothing of practical significan[ce] to the

17   underlying abstract idea.” Ultramercial, 772 F.3d at 716 (internal quotation marks and citations

18   omitted).

19          Classifying information is not an inventive concept. See, e.g., Symantec, 838 F.3d at 1321;

20   Accenture, 728 F.3d at 1345 (finding “set of rules” applied to database of tasks contained only

21   “generalized software components arranged to implement an abstract concept on a computer”).

22   Indeed, the specification teaches that existing VoIP systems already aggregated information,

23   including routing tables, and used that information to route calls within or between public and

24   private networks. ’005 patent at 1:20-44.

25          Producing routing instructions as a result of classifying information is not an inventive

26   concept.    After determining how to route a communication, the determination must be

27   communicated to whatever effects the routing. Therefore, a routing message is necessarily part of

28   the routing process. Furthermore, the claim requires nothing non-generic about the message itself:

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 1   long ago, humans produced such messages, for example, when verbally relaying information to the

 2   caller or callee or to other operators, or when recording information, such as the various routes to

 3   the desired switchboard for routing the call. And as the Federal Circuit has held, “receiv[ing] and

 4   send[ing] information over a network . . . is not even arguably inventive.” buySAFE, 765 F.3d at

 5   1355.

 6           The recited components that carry out the claimed functions are generic and conventional

 7   computer components or other tangible elements, which makes sense since the specification

 8   describes no novel data structures or computer components. A packet switched network is an “IP

 9   network.” ’005 patent at 1:27-33. The “controller” is a call controller, which may be a module on

10   a “common computer system” that has generic computer components including a microprocessor,

11   program memory, and an I/O port (e.g., id. at 13:20-22, 16:4-17:13, Fig. 4), and the program

12   memory includes blocks of code for directing microprocessor to carry out various functions of the

13   call controller (id. at 16:36-38). The specification describes a “gateway” in general and functional

14   terms as a piece of networking hardware used by well-known suppliers such as Sprint, Telus, and

15   Shaw to provide a communications path to the PSTN—e.g., to carry audio to the call recipient.

16   E.g., id. at Fig. 1 (item 20), 1:67-2:2, 3:67-4:2, 14:25-31, 16:4-27, 21:12-14, 24:66-25:4, 27:10-35;

17   Section III.A. (explaining the relevant passages of the specification). Additionally, private and

18   public networks were well-known. E.g., ’005 patent at 1:20-33. The specification also teaches that

19   existing VoIP systems already aggregated information, including routing tables, and used that

20   information to route calls within or between public and private networks. ’005 patent at 1:15-39.

21   Put simply, there is nothing inventive about the individual claimed limitations—they each recite

22   admittedly well-known, routine, and conventional functionality.

23           The asserted claims are similar to the claims that the Federal Circuit held invalid under

24   Section 101 in Electric Power Group:

25           More particularly, a large portion of the lengthy claims is devoted to enumerating
             types of information and information sources available within the power-grid
26           environment. But merely selecting information, by content or source, for
             collection, analysis, and display does nothing significant to differentiate a process
27           from ordinary mental processes, whose implicit exclusion from § 101 undergirds
             the information-based category of abstract ideas.
28

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 1          The claims in this case do not even require a new source or type of information, or
            new techniques for analyzing it . . . .
 2
            Nothing in the claims, understood in light of the specification, requires anything
 3          other than off-the-shelf, conventional computer, network, and display technology
            for gathering, sending, and presenting the desired information …. We have
 4          repeatedly held that such invocations of computers and networks that are not even
            arguably inventive are “insufficient to pass the test of an inventive concept in the
 5          application” of an abstract idea.

 6
     830 F.3d at 1354-55 (emphasis added). The same is true here. The claim elements describe in
 7
     high-level terms (e.g., “classification criteria”) the generic classification of calls and
 8
     communications by way of collecting information, analyzing it, and outputting a result that reflects
 9
     “‘well-understood, routine, conventional activit[ies]’ previously known to the industry” and
10
     therefore cannot provide an inventive concept. Twilio, Inc. v. TeleSign Corp., 249 F. Supp. 3d
11
     1123, 1149 (N.D. Cal. 2017) (citing Alice, 134 S. Ct. at 2359).
12
                    2.      The Claims Lack an Inventive Concept When Considered as an
13                          Ordered Combination.
14
            Considering the representative claims as an ordered combination also fails to yield an
15
     inventive concept that transforms the abstract idea into a patent-eligible invention. The claims lack
16
     any “non-conventional and non-generic arrangement of known, conventional pieces” that could
17
     suggest an inventive concept. See Two-Way Media, 874 F.3d at 1339 (internal citation omitted).
18
     In Two-Way Media, the claims “uses a conventional ordering of steps—first processing the data,
19
     then routing it, controlling it, and monitoring its reception—with conventional technology to
20
     achieve its desired result.” Id. VoIP-Pal’s asserted claims set forth a conventional arrangement by
21
     which information about the originator of the communication (e.g., a caller) is located in the
22
     “locating” step, and that information is used for “producing” network routing messages. Locating
23
     information, analyzing the information, and outputting a result of the analysis is a conventional
24
     order of steps. The ordered combination, whether implemented on a computer or not, adds nothing
25
     “because it follows from the underlying idea” of determining where to route communications using
26
     information about the participants. Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 F.
27
     App’x 988, 993 (Fed. Cir. 2014) (unpublished).
28

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 1          Unlike the claims at issue in DDR Holdings, VoIP-Pal’s asserted claims are not necessarily

 2   rooted in computer technology to overcome a problem specifically arising in the realm of computer

 3   networks. See 773 F.3d at 1257. Rather, they are directed to conventional methods and systems

 4   for routing communications, using generic computers as tools, and reciting nothing transformative

 5   to give rise to an inventive concept. And unlike the claims at issue in BASCOM, VoIP-Pal’s claims

 6   do not involve any unconventional or non-generic arrangement of components. 827 F.3d at 1350.

 7   To the contrary, as explained above with respect to claim elements considered as an “ordered

 8   combination,” the exemplary claims include only a conventional and generic arrangement of

 9   components that carry out a sequence of steps that is both conventional and dictated by the need to

10   analyze information before classifying it and producing the results of the classification.

11          D.      The Dependent Claims Fail for the Same Reasons as the Independent Claims.
12          Although the asserted dependent claims add limitations, they add nothing inventive that

13   would alter the Alice analysis. Some dependent claims require reformatting the callee identifier

14   using a pre-defined digit format. But “employ[ing] mathematical algorithms to manipulate existing

15   information to generate additional information is not patent eligible.” Digitech Image Techs., LLC

16   v. Elec. for Imaging, Inc., 758 F.3d 1344, 1351 (Fed. Cir. 2014). Certain dependent claims require

17   the caller or callee identifier (first or second participant identifier) to be a telephone number or

18   username. Processing caller identifiers including a telephone number or username were performed

19   by human operators, and so were “well-understood, routine, and conventional activities previously

20   known to the industry.” Content Extraction, 776 F.3d at 1347-48. Likewise, communicating the

21   routing message to a call controller (e.g., another operator) or transmitting the routing message is

22   routine activity performed by human switchboard operators decades ago. See id. And sending a

23   message over a network “is not even arguably inventive.” buySAFE, 765 F.3d at 1355.

24          Other claims add minor details about the technological environment, such as adding

25   processors, specifying that one network is the Internet, limiting the technical environment to voice-

26   over-IP, or adding additional classification criteria. But those claims merely “‘attempt[] to limit

27   the use’ of the abstract [] idea ‘to a particular technological environment,’ which has long been held

28   insufficient to save a claim in this context.” buySAFE, 765 F.3d at 1355 (citations omitted).

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 1   Because all asserted claims of the Asserted Patents are directed to an abstract idea, and no claim

 2   adds any inventive concept, all asserted claims are patent ineligible.

 3          E.      Allegations in Complaints Reciting Improvements over the Prior Art Do Not
                    Save the Asserted Claims.
 4
            VoIP-Pal’s Third Amended Complaints against Verizon and AT&T allege further purported
 5
     advantages of the asserted invention over the prior art, such as that the purported inventions provide
 6
     benefits that include “user-specific calling,” “transparent routing,” and “network resiliency.”
 7
     AT&T ECF No. 59 ¶ 11. As the Federal Circuit has noted with alleged technical improvements in
 8
     other cases, however, the specification of the Asserted Patents is “wholly devoid of details which
 9
     describe how this is accomplished.” Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1346
10
     (Fed. Cir. 2018) (emphasis in original). But even if disclosed in the specification, none of the
11
     asserted claims recite the purported benefits. Synopsys, Inc., 839 F.3d at 1149 (“[W]e have held
12
     that complex details from the specification cannot save a claim directed to an abstract idea that
13
     recites generic computer parts.”) (citing Accenture, 728 F.3d at 1345); Symantec, 838 F.3d at 1321-
14
     22 (“The district court erred in relying on the technological details set forth in the patent’s
15
     specification and not set forth in the claims to find an inventive concept.”). Those purported
16
     benefits therefore have no bearing on the patent-eligibility of the asserted claims.
17
     VI.    CONCLUSION
18
            For the foregoing reasons, Defendants respectfully request that the Court dismiss with
19
     prejudice all of VoIP-Pal’s claims regarding the ’815 and ’005 patents against Defendants.
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 1   DATED: January 10, 2019

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